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                            United States District Court
                                        for the
                            Southern District of Florida

    United States of America,             )
    Plaintiff                             )
                                          )
    v.                                    )
                                            Criminal Case No. 19-20450-CR-Scola
                                          )
    Alex Nain Saab Moran,                 )
    Defendant.                            )

         Final Order on the Defendant’s Motion to Dismiss the Indictment
          This cause is before the Court upon Defendant Alex Nain Saab Moran’s
   motion to dismiss the indictment based upon his claim of diplomatic immunity.
   (Mot., ECF No. 147.) The Government filed a response (Opp., ECF No. 153) and
   the Defendant filed a reply (Reply, ECF No. 157). Subsequently, the Court held
   an evidentiary hearing on December 12, 2022 and December 13, 2022, during
   which it heard the testimony of numerous witnesses, some of whom testified by
   videoconference from Venezuela. The Court later heard the parties’ oral
   arguments on December 20, 2022.
          Based upon the parties’ presentations, their written submissions, the
   credible testimony and evidence, the record, and pertinent legal authorities, the
   Court denies Saab Moran’s motion (ECF No. 147) for the reasons below.

          1. Legal Standard
          Under Federal Rule of Criminal Procedure 12(b), “[a] party may raise by
   pretrial motion any defense, objection, or request that the court can determine
   without a trial on the merits.” See Fed. R. Crim. P. 12(b)(1). However, an
   indictment may be dismissed “only if there is an ‘infirmity of law in the
   prosecution.’” See U.S. v. Belcher, 927 F.2d 1182, 1185 (11th Cir. 1991)
   (quoting U.S. v. Torkington, 812 F.2d 1347, 1354 (11th Cir. 1987)).
          In parallel, the “controlling statute on diplomatic immunity is the
   Diplomatic Relations Act of 1978 which incorporated the 1961 Vienna
   Convention on Diplomatic Relations.” Abdulaziz v. Metro. Dade Cnty., 741 F.2d
   1328, 1330 (11th Cir. 1984). The Diplomatic Relations Act (“DRA”), 22 U.S.C.
   §§ 254a-e, requires “[a]ny action or proceeding brought against an individual
   who is entitled to immunity with respect to such action or proceeding under
   the Vienna Convention on Diplomatic Relations, under sections 254b or 254c
   of this title, or under any other laws extending diplomatic privileges and
   immunities, [to] be dismissed.” Id. § 254d.
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          Because “‘[t]he determination of whether a person has diplomatic
   immunity is a mixed question of fact and law[,]” the Court finds it appropriate
   to delineate its findings of fact before applying the law based on the evidence
   before it. Ali v. Dist. Dir., 743 Fed. App’x. 354, 358 (11th Cir. 2018) (quoting
   U.S. v. Al-Hamdi, 356 F.3d 564, 569 (4th Cir. 2004)).

         2. Findings of Fact
          Saab Moran faces charges in this case for bribing Venezuelan officials
   and channeling hundreds of millions of dollars into foreign accounts under the
   guise of a food program meant to benefit Venezuelans. His alleged criminal
   activity took place from 2011 through 2015.
          In an apparent effort to either avoid prosecution or reduce his criminal
   exposure in the United States, Saab Moran began to meet secretly with United
   States law enforcement agents starting in August 2016. Saab Moran met with
   agents in August and September of 2016. The following year, he met with
   agents in November of 2017. The next year, he met with the agents in June and
   July, 2018. In fact, on June 27, 2018, Saab Moran entered into a signed
   cooperation agreement with the Drug Enforcement Agency (“DEA”). He
   continued to meet with agents in April 2019. From August 2018 through
   February 2019, Saab Moran made four payments to a DEA-controlled bank
   account totaling $12.5 million to disgorge his profits earned from his criminal
   conduct.
          Saab Moran was indicted in this case on July 25, 2019, and a warrant
   for his arrest was issued. However, he was not arrested until June 12, 2020.
   On that date, Saab Moran was en route to Iran from Venezuela when the plane
   he was on stopped to re-fuel in Cape Verde. (ECF No. 24 at 4.) At the request of
   the United States, Saab Moran was detained by Cape Verdean authorities and
   held pending extradition to the United States.
          Twice before his arrest, Saab Moran traveled to Iran under the auspices
   of Nicolás Maduro, who claims to be the president of Venezuela but is not
   recognized as such by the United States. Specifically, Saab Moran traveled to
   Iran once from March 8, 2020 to March 15, 2020, and another time from April
   14, 2020 to April 20, 2020. During those travels, Saab Moran was a fugitive of
   this Court.
          Saab Moran fought extradition in Cape Verde for 16 months. He was
   provided due process by Cape Verdean courts and was ultimately extradited to
   the United States in October 2021 after losing an appeal to Cape Verde’s
   highest court.
          Saab Moran now challenges his detention and the charges against him
   by invoking transit-based diplomatic immunity on account of his having
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   allegedly been designated as a “special envoy” of Maduro’s regime in April
   2018.
           The Government contends that Saab Moran was not truly traveling as a
   “special envoy” at the time of his arrest. And it does so with good reason.
           At the evidentiary hearing, Saab Moran tried to substantiate this “special
   envoy” status by relying on a credential purportedly signed in April 2018 by the
   Maduro regime’s Minister of Foreign Affairs, Jorge Arreaza. (Def. Ex. BC.) 1
   Labeling Saab Moran as a “special envoy,” the credential allegedly authorized
   him “to make arrangements for procuring basic goods and services, both paid
   for and received as humanitarian aid, for national assistance programs,
   particularly, food, supplies, machines and equipment for the production and
   processing foodstuffs; medicines, materials, medical supplies and equipment[.]”
   (Id.) But nowhere does the purported credential mention Iran.
           It also explicitly says that he may not “make any arrangements in
   relation to the public sector budget.” (Id.) Yet, that is not consistent with Saab
   Moran’s functions in Iran, where he says he “negotiated the exchange of
   Venezuelan gold for gasoline . . . [and] also secured an agreement for transport
   of oil refinery equipment to Venezuela.” (Mot. 7.)
           Indeed, State Department records corroborate that Saab Moran—a
   businessman, not a diplomat, by trade—traveled “with senior executives at
   Venezuela’s state-owned oil company Petróleos de Venezuela as part of an
   agreement in which Iran sen[t] gasoline additives, parts, and technicians for
   gold.” (Def. Ex. AG at 14.) Saab Moran’s own exhibits corroborate this as well.
   They show the withdrawal and delivery of 80 bars of gold deposits from a
   number of Venezuelan banks in exchange for gasoline from Iran. (Def. Exs. AD,
   AF.) In fact, on his third trip, Saab Moran traveled carrying a letter from
   Maduro to Iran’s leader pleading him to intervene and “guarantee a new urgent
   shipment of five million barrels of gasoline for this current month . . . [and] to
   specify the monthly and periodic shipment of gasoline to Venezuela for a year
   . . . [and to] accompany this scheme with mechanisms of financing defined by
   the teams of both countries.” (Def. Ex. AM at 2.)
           Following the news of Saab Moran’s arrest, the Maduro regime sought to
   devise ways of avoiding his extradition to the United States by exploiting the
   law of diplomatic immunities.
           A clear example of that is Saab Moran’s sudden naming in December
   2020 as the “Ambassador [and] Alternate Permanent Representative of the


   1 Where able, for ease of reference, the Court refers to the parties’ exhibits by the markings

   assigned to them at the evidentiary hearing. Pursuant to Local Rule 5.3, these exhibits have
   been uploaded to the record at ECF Nos. 190-193.
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   Bolivarian Republic of Venezuela to the African Union,” (Def. Ex. R), while he
   was pending extradition to the United States from Cape Verde. In an effort to
   have Saab Moran released, the Maduro regime sent a letter to the State
   Department notifying it of Saab Moran’s appointment to that post on October
   22, 2021 (id.) but evidently, it did so to no avail. In fact, that letter only adds
   more cause for suspicion.
          It says that “Ambassador Saab Moran is the holder of Diplomatic
   Passport number 045778720, date of issue 23 March 2020 and date of
   expiration 22 March 2020[.]” ((id.) (emphasis added).) However, Saab Moran did
   not travel with a diplomatic passport on his June 2020 trip to Iran. He traveled
   using a personal passport and represented to this Court that the reason for
   that was that “he was awaiting receipt of his renewed diplomatic passport
   (which had been issued but not physically given to him due to COVID-19
   restrictions and shutdowns).” (Reply 4.) But upon questioning in the days
   following his arrest, Saab Moran told a Cape Verdean court that his diplomatic
   passport was in Venezuela. (See Gov’t Ex. 3 at 8.)
          Freddy Plathi, a representative of Venezuela’s passport agency, testified
   at the hearing that at the time of Saab Moran’s June 2020 trip, the passport
   office in Caracas was, indeed, closed due to the COVID pandemic. But, he also
   established that because all of Saab Moran’s biometrical information was in a
   government database, a renewed diplomatic passport could have been printed
   out for him regardless of any COVID restrictions. So, it seems possible that
   Saab Moran could have been issued a diplomatic passport in March 23, 2020,
   as the letter from the Maduro regime to the State Department represents.
          However, the Court is unconvinced by Saab Moran’s representation that
   the Maduro regime was not be able to deliver to him a diplomatic passport in
   the nearly three-month period between the passport’s purported issuance and
   his June 2020 trip to Iran. In fact, according to the testimony, the Maduro
   regime hand-delivered to him a series of letters on the day before his trip that
   were to be given to Iranian authorities. (ECF No. 183 at 89:22-92:16.)
          Whether Saab Moran actually did have a diplomatic passport at the time
   of his arrest proves relevant because Plathi also testified that Venezuelan
   diplomatic passports could be issued for up to five years. The request for a
   diplomatic passport comes from the Minister of Foreign Affairs who has the
   discretion to determine the length of the validity of a diplomatic passport. That
   the Foreign Minister chose to award Saab Moran a diplomatic passport that
   was valid for only one year (March 23, 2019 through March 22, 2020) suggests
   that if, he had any role as a diplomat for the Maduro regime, it was only a
   temporary role. And that role’s relation to his dealings in Iran are questionable.
   To be sure, the expired diplomatic passport bore a “special envoy” marking.
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   (See Gov’t Ex. 5.) However, Saab Moran submitted no evidence of his using the
   diplomatic passport for his March 8, 2020 trip to Iran, while it was still valid.
          Indeed, the evidence and testimony support the Government’s contention
   that the Maduro regime doctored certain documents to make it appear that
   Saab Moran was traveling to Iran as a “special envoy” when he was arrested,
   thus calling into question the reliability of other documents submitted by Saab
   Moran.
          Among those documents is a resolution purportedly published in the
   Venezuelan government’s official gazette, which announced the earlier
   discussed credential naming Saab Moran as a “special envoy.” According to a
   copy of the gazette that was obtained from the Venezuelan Imprenta Nacional,
   the resolution was included in the gazette’s publication on April 26, 2018. (See
   Gov’t Ex. 17.) However, the Government offered a copy of the April 26, 2018
   gazette that was retained by the U.S. Library of Congress, and yet another copy
   of the same gazette as published on the Venezuelan Supreme Court’s website.
   (See Gov’t Exs. 17, 19.) Identical in the relevant respects, neither of these two
   copies reflects the purported resolution announcing Saab Moran as a special
   envoy. Samuel Marple, an FBI computer scientist, testified that the version that
   does include the announcement—i.e., the one obtained from the Venezuelan
   Imprenta Nacional—showed traces of post-publication modifications whereas
   the other two versions did not.
          Indeed, María González, an employee of the Venezuelan Ministry of
   Foreign Affairs since 1993 who handles official correspondence including
   documents accrediting diplomats, testified that it would be unusual for the
   gazette to include Saab Moran’s appointment as special envoy.
          In an attempt to explain this discrepancy, Saab Moran pointed to
   testimony of his expert on Venezuelan law, Hector Peña, who served as a judge
   on Venezuela’s Supreme Court. He testified that the publication of a resolution
   naming a special envoy in the gazette is not required under Venezuelan law to
   render that appointment effective. But Peña also testified that the naming of a
   permanent representative would require such publication and formal approval
   by the National Assembly. Saab Moran presented no evidence that his
   appointment was approved by the National Assembly. So, in respect of
   whatever diplomatic status that Saab Moran may have had, all that Peña’s
   testimony conclusively established is that Saab Moran was not a permanent
   diplomatic agent.
          Saab Moran further pointed to letters between the Maduro regime and
   Iranian government officials dated to reflect the days leading to his June 2020
   trip that refer to him as an “envoy.” (See Def. Exs. B, D.) Although the
   Government stipulated that those documents represented “true and correct
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   copies of foreign public documents involving agencies and ministers of the
   governments of Venezuela and Iran,” (Def. Ex. A), the Government did not
   stipulate to the veracity of the documents’ contents and seemed to question the
   accuracy of their dates in its opposition brief. (See Opp. 37.)
          More reason to doubt Saab Moran’s status as a “special envoy” during
   the June 2020 trip comes from the fact that none of the letters in the days
   immediately following Saab Moran’s arrest sent by Arreaza (who allegedly
   appointed him as “special envoy”) to the Cape Verde’s Ministry of Foreign
   Affairs refer to him as a “special envoy.” They instead vaguely refer to him as a
   “representative” of Venezuela. (See Gov’t Exs. 14, 15.) The same is true of the
   letter contesting his arrest sent by the Maduro regime to INTERPOL on June
   15, 2020. (Gov’t Ex. 11.) And, to be clear, Saab Moran argues that his
   diplomatic immunity stems from the fact that he was traveling as a “special
   envoy” on the basis of Arreaza’s alleged 2018 appointment—not from his
   traveling to Iran as a “representative” of the Maduro regime in June 2020.
   ((Mot. 2.) (“From April 9, 2018, to the present Mr. Saab has at all times been an
   accredited diplomatic agent of Venezuela.”))
          Finally, Saab Moran met with United States law enforcement agents in
   June and July of 2018 and April 2019—all after his purported appointment as
   a diplomat of the Maduro regime. From August of 2018 through February
   2019, he made four payments to the DEA totaling $12.5 million to repay his ill-
   gotten gains. All of those interactions took place after he was allegedly
   appointed as a special envoy in April 2018. Yet, during none of these meetings
   or interactions, including a meeting during which he signed a cooperation
   agreement with the agents, did he ever represent to the agents that he was
   working as a diplomat for the Maduro regime.
          Against this sum of evidentiary inconsistencies and indications of
   documentary manipulation, the Court is left to conclude that the Maduro
   regime has, in a post hoc manner, done its best to imprint upon Saab Moran a
   diplomatic status that he did not factually possess on June 12, 2020.
          The evidence suggests that the Maduro regime and its accomplices have
   fabricated documents to cloak Saab Moran in a diplomatic dress that does not
   befit him, all in an effort to exploit the law of diplomatic immunities and
   prevent his extradition to the United States.
          The Court is not convinced that the 2018 credential that Saab Moran
   relied on to support his claim to diplomatic status is legitimate nor is the Court
   convinced of its relation to his dealings in Iran. And, even if Saab Moran had
   truly been proclaimed to be a “special envoy” in 2018, the evidence does not
   convince the Court that Saab Moran was traveling as anything more than a lay
   businessman to broker a deal when arrested in June of 2020.
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         For these reasons alone, the Court finds that Saab Moran’s assertion of
   diplomatic immunity is a nonstarter.
         At the time he was arrested, Saab Moran truly was no diplomat at all.
         3. Conclusions of Law

          Even more, Saab Moran cannot be entitled to diplomatic immunity
   because he could not—as a matter of law—have been an agent of the
   Venezuelan government. At the time of his arrest, Saab Moran was, at best, a
   special envoy of the Maduro regime, which the United States has not
   recognized to be the official government of Venezuela since January 2019. So,
   Saab Moran is not entitled to diplomatic immunity in the United States.
          But even assuming that Saab Moran was traveling as a special envoy
   entitled to diplomatic status in the United States, his arguments under the
   Vienna Convention on Diplomatic Relations, April 18, 1961, 23 U.S.T. 3227
   [hereinafter “VCDR”], and customary international law fail.
         A. Saab Moran Was Not a Diplomatic Agent of Venezuela

          Saab Moran claims that he is entitled to transit-based diplomatic
   immunity because he was, and remains, in transit to his “diplomatic post” in
   Iran. Transit-based immunity is a limited form of protection that may be
   granted to a diplomatic agent while he is passing through the territory of a
   third country on his way to/from his diplomatic post upon that third country’s
   consent. See RESTATEMENT (S ECOND) OF FOREIGN R ELATIONS LAW § 78 (1965).
          Putting aside the question of consent, an evident prerequisite to a
   person’s ability to assert such immunity is their diplomatic status. In the
   Government’s eyes, Saab Moran was not one. (See Resp. 16.)
          Only the President may determine “which governments are legitimate in
   the eyes of the United States and which are not[.]” See Zivotofsky ex rel.
   Zivotofsky v. Kerry, 576 U.S. 1, 3 (2015); RESTATEMENT (THIRD) OF FOREIGN
   RELATIONS LAW § 204. It is clear that the United States does not recognize the
   Maduro regime to represent the official government of Venezuela. Instead, “[t]he
   United States recognizes Interim President Juan Guaid[ó] and considers the
   2014 democratically elected Venezuelan National Assembly, which he currently
   leads, to be the only legitimate federal institution, according to the Venezuelan
   Constitution.” U.S. DEP’T OF STATE, U.S. RELATIONS WITH VENEZUELA (2022),
   https://www.state.gov/u-s-relations-with-venezuela/.
          In fact, Maduro’s regime has been deemed “illegitimate.” Id. Accordingly,
   any claim to diplomatic immunity asserted by a representative of the Maduro
   regime must also be considered illegitimate. See RESTATEMENT (SECOND) OF
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   FOREIGN R ELATIONS LAW § 73 cmt. g. (“A diplomatic agent claiming to represent a
   revolutionary government that is not recognized by the receiving state is not
   entitled to diplomatic immunity in the courts of that state.”); see also U.S. v.
   Cordones, No. 11-cr-205, 2022 WL 815229 (S.D.N.Y. Mar. 17, 2022) (denying a
   motion to dismiss an indictment filed by an official of the Maduro regime citing
   the President’s non-recognition of the Maduro regime); RESTATEMENT (THIRD) OF
   FOREIGN R ELATIONS LAW § 204(1) (“a regime not recognized as the government of
   a state [ ] is ordinarily denied access to courts in the United States.”).
           Contrary to Saab Moran’s suggestion, this ruling does not run afoul of
   the United States’ responsibilities under international law. Indeed, any such
   responsibilities must be understood to extend to the acts and representatives of
   the Guaidó administration, not to those of Maduro’s illegitimate regime. See
   Eileen Danza, Diplomatic Law: Commentary on the Vienna Convention on
   Diplomatic Relations 371 (4th ed. 2016) (noting that where a transit nation
   “does not recognize as a government the authorities who accredited the
   diplomat, it will in consequence not regard that person as a diplomatic agent at
   all [under the VCDR], so that it will not regard itself as bound by the duties in
   Article 40 so far as he is concerned.”)
            Although Saab Moran purports to invoke the autonomy of other regimes
   to recognize whom they wish as diplomats, the matter before this Court
   concerns not the decisions of those regimes but the sovereignty of the United
   States to choose which foreign governments it recognizes as legitimate. That
   power is vested exclusively in the Office of the President. See Zivotofsky, 576
   U.S. at 3,14.
           So, because Saab Moran, at best, represented only a regime deemed
   illegitimate by the President, he could not have carried any cognizable
   diplomatic status. The result is that he cannot assert any form of diplomatic
   immunity in this Court as a matter of law.
         B. Diplomatic Immunity Under the VCDR

          Yet, even if Saab Moran had carried some cognizable diplomatic status as
   a “special envoy” of the Maduro regime, he would still not be entitled to transit
   immunity under the VCDR. The United States ratified the VCDR in 1972 and
   incorporated it into the DRA in 1978. See 22 U.S.C. § 254a(4). Neither the
   VCDR nor the DRA use or define the term “special envoy.”
          Instead, the VCDR speaks of immunities afforded to “diplomatic agents.”
   Article 31 provides a straightforward example: “[a] diplomatic agent shall enjoy
   immunity from the criminal jurisdiction of the receiving State.” VCDR art. 31.1.
   In arguing for immunity, Saab Moran invokes that provision and Article 40,
   which says: “If a diplomatic agent passes through or is in the territory of a
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   third State, which has granted him a passport visa if such visa was necessary,
   while proceeding to take up or return to his post, or when returning to his own
   country, the third State shall accord him inviolability and such other
   immunities as may be required to ensure his transit or return.” Id. art. 40.1.
          Because the Court must determine if Saab Moran qualifies as a
   “diplomatic agent” under the VCDR, the Court “‘begin[s] with the text of the
   treaty and the context in which the written words are used.’” Pielage v.
   McConnell, 516 F.3d 1282, 1287 (11th Cir. 2008) (quoting Volkswagenwerk
   Aktiengesellschaft v. Schlunk, 486 U.S. 694, 699–700 (1988)).
          The VCDR defines a “diplomatic agent” to be “the head of the mission or a
   member of the diplomatic staff of the mission.” VCDR art. 1(e) (emphasis
   added). So, the threshold inquiry becomes whether Saab Moran was the head
   or member of a diplomatic mission in the sense of the VCDR. The answer is no.
           The VCDR does not explicitly define what it qualifies as a “mission,” and
   the DRA merely says that “the term ‘mission’ includes missions within the
   meaning of the Vienna Convention and any missions representing foreign
   governments, individually or collectively, which are extended the same
   privileges and immunities, pursuant to law, as are enjoyed by missions under
   the Vienna Convention.” 22 U.S.C. § 254a(3). However, the VCDR’s use of the
   term makes clear that the types of diplomatic “missions” the VCDR applies to
   are permanent representative missions, not special or temporary missions such
   as the one Saab Moran, at best, formed part of when arrested.
          For example, the convention’s text recognizes that the “establishment of
   diplomatic relations between States, and of permanent diplomatic missions,
   takes place by mutual consent.” VCDR art. 2 (emphasis added). It also speaks
   of “missions” in the following context: “The mission and its head shall have the
   right to use the flag of the sending State on the premises of the mission,
   including the residence of the head of the mission, and on his means of
   transport.” VCDR art. 20. And perhaps most indicative of the fact the VCDR
   concerns itself only with permanent missions is the very existence of a separate
   treaty that governs temporary missions, known as the United Nations
   Convention on Special Missions (“UNCSM”). 1400 U.N.T.S. 231, Dec. 8, 1969.
   That treaty came about after the U.N. Conference on Diplomatic Intercourse
   and Immunities adopted the VCDR’s text and contemporaneously
   recommended that the U.N. separately undertake “further study of the subject
   of special missions.” U.N. Doc. A/Conf.20/10/Add.1, at 90 (Apr. 10, 1961).
          Now, to be sure, the Court is entitled to rely on these observations
   because it “may look beyond the written words to the history of [a] treaty, the
   negotiations, and the practical construction adopted by the parties,” to discern
   a term’s meaning. Pielage, 516 F.3d at 1287 (quoting Volkswagenwerk, 486
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   U.S. at 699-700).
          So, the Court finds that the VCDR only concerns the protections of
   “diplomatic agents” in the context of permanent missions. That conclusion is
   consistent with past applications of the VCDR by this and other courts,
   including the International Court of Justice. See Tachiona ex rel. Tachiona v.
   Mugabe, 186 F. Supp. 2d 383, 387 (S.D.N.Y. 2002) (“The genesis and
   negotiating history of the Vienna Convention make clear that the purpose the
   treaty intended to address was the codification of rules governing diplomatic
   relations between sovereign states and the organization and functioning of
   permanent diplomatic missions in states with established relations.”) (emphasis
   added); U.S. v. Sissoko, 995 F. Supp. 1469, 1470-71 (S.D. Fla. 1997) (Moore, J.)
   (differentiating between the UNCSM and the diplomatic processes “set forth for
   members of a permanent mission in the Diplomatic Relations Act and the
   Vienna Convention.”); R v. Governor of Pentonville Prison, ex parte Teja [1971] 2
   All ER (QB) 11 at 17 (Eng.) (finding that the VCDR applies to permanent
   missions instead of ad hoc missions); see also Satow’s Diplomatic Practice 188
   (6th ed. 2009) (“The Vienna Convention on Diplomatic Relations therefore
   relates only to permanent diplomatic missions.”); Jonathan Brown, Diplomatic
   immunity: state practice under the Vienna Convention on Diplomatic Relations,
   37(1) INT’L & COMP. L. Q. 53, 62 (1988) (“In those circumstances, the Vienna
   Convention on Diplomatic Relations, which is concerned with permanent and
   not ad hoc diplomatic missions, should not have been applicable at all.”); see
   generally Immunities and Crim. Proc. (Eq. Guinea v. Fr.), Judgment, 2020 I.C.J.
   Rep. 300 (Dec. 11) (applying the VCDR to the question of whether certain
   property constituted the premises of Equatorial Guinea’s permanent mission).
          Given this understanding of the VCDR, the Court returns to the question
   of whether Saab Moran may invoke the convention’s protections and reiterates
   that the answer is no. As noted, the evidence shows that Saab Moran was, at
   best, traveling to perform a temporary undertaking on behalf of Maduro’s
   regime in Iran. He was not traveling as a member or head of a permanent
   mission during the trip in question. Consequently, Saab Moran is not a
   “diplomatic agent” in the sense of the VCDR and may not invoke any of the
   convention’s provisions.
          Saab Moran urges the Court to conclude differently in light of the
   Eleventh Circuit’s ruling in Abdulaziz v. Metropolitan Dade County. 741 F.2d
   1328. Abdulaziz addressed the question of whether civil counterclaims could
   stand against H.R.H. Prince Abdulaziz Bin Abdulaziz. Prince Abdulaziz had
   been designated as a “special envoy” by the Kingdom of Saudi Arabia but,
   despite his living in the United States, had not applied for diplomatic status
   with the State Department until the suit was pending. While the litigation was
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   ongoing, the State Department certified his diplomatic status, which led the
   Eleventh Circuit to find that Prince Abdulaziz was to be “afforded full protection
   pursuant to the Diplomatic Relations Act.” Id. at 1331.
          Saab Moran suggests that Abdulaziz extends the VCDR’s protections to
   diplomatic agents on temporary missions that serve as the heads of such
   missions. He reasons as much because the Eleventh Circuit acknowledged that
   “envoys” are classified as “Heads of Missions” in the VCDR. Id. So, given that
   he was no ordinary “special envoy” but also the head of a mission, the
   argument goes, Abdulaziz compels this Court to find that the VCDR immunizes
   him. (See Reply 8.) The Court disagrees entirely.
          First, nowhere in Abdulaziz did the Eleventh Circuit explicitly hold that
   Prince Abdulaziz was the head of a mission under the VCDR. That was an
   argument advanced by Prince Abdulaziz himself before this Court. (See Def. Ex.
   Y at 2.) The Eleventh Circuit simply noted, in passing, that the VCDR
   “classifies ‘envoys’ as Heads of Missions.” Abdulaziz, 741 F.2d at 1331.
   Likewise, in its certification to the Court, the State Department only said that
   Prince Abdulaziz was entitled to protection under the DRA—and “courts have
   generally accepted as conclusive the views of the State Department as to the
   fact of diplomatic status.” Abdulaziz, 741 F.2d at 1331. To be sure, the State
   Department’s certification certainly referenced the VCDR’s definition of
   diplomatic immunity, but it made no representation that Prince Abdulaziz’s
   protection came from the VCDR itself. The certification reads: “Pursuant to the
   [DRA], His Royal Highness Prince Turki Bin Abdulaziz is entitled to diplomatic
   immunity as defined by Article 31 of the [VCDR].” ((Def. Ex. AA) (internal
   citations omitted).) Nowhere else did the certification mention the VCDR.
          Further, as the Government points out, it is unclear whether Prince
   Abdulaziz was a special envoy attached to the permanent mission of Saudi
   Arabia such that his nexus with that mission might be the basis upon which
   one might determine that the VCDR’s protections applied to him. (Opp. 22.) In
   any event, it is clear is that Saab Moran was not a special envoy attached to
   the permanent mission of Venezuela to Iran. He was performing a temporary
   undertaking.
          Second, Abdulaziz is more readily understood to be a decision concerning
   the proper interpretation of the DRA, not the VCDR. The Eleventh Circuit
   anchored its decision in its interpretation of Section 254d of the DRA. It
   particularly noted that the Senate Report accompanying the DRA “indicates
   that § 254d intends ‘dismissal by a court . . . of any action or proceeding where
   immunity is found to exist[,]” and then proceeded to hold that, “[a]s special
   envoy Turki was afforded full protection pursuant to the Diplomatic Relations
   Act.” Abdulaziz, 741 F.2d at 1331 (emphasis added). And, indeed, Section 254d
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   provides immunity under the VCDR and “under any other laws extending
   diplomatic privileges and immunities.” 22 U.S.C. § 254d (emphasis added).
         Third, Abdulaziz did not involve a claim to transit-based immunity such
   as the one Saab Moran asserts. Prince Abdulaziz’s immunity derived from his
   status in situ—that is, from his residence in the place of his diplomatic post.
   The law concerning transit-based immunity involves a separate legal regime,
   which appears to be ill-defined and largely non-binding, as is discussed below.
   So, Abdulaziz’s guidance, though useful, is limited here.
         The case does not tell this Court how to treat claims to transit-based
   immunity that are asserted by purported diplomatic agents sent on temporary
   missions who are not recognized to hold diplomatic status in the United States.
   Abdulaziz tells the Court how to handle the assertion of in-situ immunity by a
   person that has been certified to be a diplomat by the State Department.
         Fourth, reading the VCDR to immunize heads of temporary missions in
   the way Saab Moran suggests would open the door to the abuse of diplomatic
   immunities in a way that could seriously frustrate cross-border law
   enforcement activities. By his logic—assuming travel to a “diplomatic post”—a
   person traveling with a personal secretary who is wanted in Country A and
   transiting through Country A would automatically be untouchable there, if
   some Country B previously assigns to that person a diplomatic title to him
   thereby making him the head of a temporary “mission.”
         This Court is not the first to reject such a reading of the VCDR. In the
   nearly identical case of another “special envoy” asserting transit-based
   immunity, an English court in Ex parte Teja denied diplomatic protection under
   the VCDR for the same reasons the Court cites above. That court said:
         “Accordingly, counsel for the applicant puts the matter in a very simple
         form. He says, here is a man who was head of a mission, the mission
         being that referred to in the letter of credence . . . [so] from the very
         moment he lands in this country [while in transit] he is immune from
         any form of arrest or detention or criminal proceedings. I confess that at
         the very outset this argument, simple as it was, seemed to me to produce
         a frightening result in that any foreign country could claim immunity for
         representatives sent to this country unilaterally whether this country
         agreed or not . . . . A further point also arises, namely that the 1961
         Vienna Convention, it is reasonably clear when looked at as a whole, is
         applying to what one might call permanent missions and not to
         something which is in the nature of ad hoc missions.”
   Ex parte Teja [1971] 2 All ER at 16-17.
         Fifth, even if Abdulaziz could be understood to extend the VCDR to heads
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   of temporary missions, it would not compel a different outcome here. Abdulaziz
   was not based on Prince Abdulaziz’s “special envoy” title or head of mission
   status alone. The court recognized that Prince Abdulaziz’s immunities were
   only acquired once the State Department certified his diplomatic status:
   “Pursuant to 22 U.S.C.A. § 254d and the Senate Report accompanying the Act,
   the action was properly dismissed when immunity was acquired and the court
   was so notified.” Abdulaziz, 741 F.2d at 1332 (emphasis added); see also id. at
   1329 (“once the [State Department] has regularly certified a visitor to this
   country as having diplomatic status . . . the diplomatic immunity flowing from
   that status serves as a defense to suits already commenced.”) (emphasis
   added). Thus, Abdulaziz compels no outcome based on a diplomatic title alone.
          Further, contrary to what the State Department certified in respect of
   Prince Abdulaziz, the State Department has certified in no uncertain terms that
   it is aware of no “basis for Alex Nain Saab Moran to enjoy immunity from the
   criminal or civil jurisdiction of the United States.” (Gov’t Ex. 9.) And, again,
   “courts have generally accepted as conclusive the views of the State
   Department as to the fact of diplomatic status.” Abdulaziz, 741 F.2d at 1331;
   see also Ali, 743 Fed. App’x at 358 (“In the United States in particular, a
   person’s diplomatic status is established when it is recognized by the
   Department of State.”) (cleaned up).
          Accordingly, the Court finds that Saab Moran is not entitled to
   diplomatic immunity under the VCDR.
         C. Diplomatic Immunity Under Customary International Law

          Next, Saab Moran argues that he is entitled to diplomatic immunity
   under customary international law. He begins this argument by pointing the
   Court to the UNCSM, which he says provides immunities for diplomatic agents
   on temporary or “special missions,” such as himself.
          At the same time, he concedes that “the United States has not ratified”
   the UNCSM, (Mot. 23), which means that the treaty has no force of law in this
   Court. Additionally, neither Venezuela nor Cape Verde have ratified it.
   Nevertheless, Saab Moran seems to posit that the UNCSM simply codifies the
   customary international law governing “core immunities of personal
   inviolability . . . for diplomats on special missions,” (see Mot. 23 (cleaned up)),
   such that any nation’s ratification of the UNCSM is irrelevant to the question of
   whether the United States owes him immunity under customary international
   law itself.
          This Court has flatly held that the UNCSM does not represent binding
   customary international law. Sissoko, 995 F. Supp. at 1470. Regardless, Saab
   Moran attempts to draw support from R v. Secretary of State for Foreign and
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   Commonwealth Affairs, [2018] EWCA Civ 1719, 2018 WL 03459145, an
   intermediate appellate decision from the United Kingdom. That court found
   that “a rule of customary international law has been identified which now
   obliges a state to grant to the members of a special mission, which the state
   accepts and recognizes as such, immunity from arrest or detention (i.e.
   personal inviolability) and immunity from criminal proceedings for the duration
   of the special mission’s visit.” Id. However, this non-binding decision speaks
   nothing of customary international law’s recognition of transit-based immunity,
   which is what Saab Moran purports to invoke here. The decision instead dealt
   with the in-situ immunity of a diplomatic agent taking up his post in the United
   Kingdom after the United Kingdom had consented to his presence on its
   territory as part of a temporary mission.
          Aside from invoking R v. Secretary of State, Saab Moran does little to
   discuss the parameters of transit immunity and fails to point the Court to any
   binding authority that recognizes its existence in the case of diplomatic agents
   serving temporary undertakings.
          But even if customary international law—independent of the UNCSM—
   somehow did recognize some form transit-based immunity for diplomatic
   agents on temporary missions, the weight of authority suggests that it would
   require the transiting state to proactively afford that immunity by consenting to
   it. See RESTATEMENT (S ECOND) OF FOREIGN R ELATIONS LAW § 78(1) (1965) (“[a]
   person entitled to immunity from the exercise of jurisdiction by the receiving
   state as indicated in §§ 73 and 74, who has been permitted to pass through the
   territory of another state . . . is entitled to [diplomatic immunity]”) (emphasis
   added); see also Ex parte Teja, [1971] 2 All ER (QB) at 17 (rejecting a claim of
   transit-based immunity for a diplomatic agent on a temporary mission because
   “immunity depends on mutual agreement [of the transiting state] on the person
   entitled to the immunity.”).
          This means that Saab Moran’s “special envoy” title alone does not—and
   cannot—unilaterally compel any country to afford him diplomatic immunity
   under customary international law. See, e.g., Sissoko, 995 F. Supp. at 1471
   (denying diplomatic protection to a “special advisor” of The Gambia where the
   State Department had not certified his diplomatic status); U.S. v. Kuznetsov,
   442 F. Supp. 2d 102, 106 (S.D.N.Y. 2006) (“diplomatic immunity is premised
   upon recognition by the receiving State, so that no person or government may
   ‘unilaterally assert diplomatic immunity.’”) (quoting U.S. v. Lumumba, 741 F.2d
   12, 15 (2d Cir. 1984)); see also Op. of the Sup. Ct. of Just. of Cape Verde 33,
   ECF No. 153-1 (“Therefore, it is clear that the status of special envoy cannot
   result, contrary to what the Appellant [Saab Moran] seems to maintain, only
   from a unilateral declaration of the State that says it sent him on a mission[.]”).
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   Even the VCDR recognizes that in the case of representatives of permanent
   missions, diplomatic recognition requires reciprocity. See VCDR arts. 4, 9.2,
   11.2, 43; Ali, 743 Fed. App’x. at 358 (noting that the VCDR premises
   “diplomatic immunity upon recognition by the receiving state.”) (cleaned up);
   Satow’s Diplomatic Practice 170, 192 (6th ed. 2009) (“Article 40 of the Vienna
   Convention is clearly based on the assumption that the diplomat has no right
   of transit across a third State . . . . [and] as in the case of members of
   diplomatic missions, there is no right of passage through a third State [under
   the UNSMC] and [ ] the third State must consent to the transit before being
   required to accord any special privileges to members of special missions.”).
          Here, no transiting state’s consent—including that of the United States—
   has been established. Indeed, the Supreme Court of Cape Verde explicitly
   found no evidence of Cape Verde’s ever having consented to Saab Moran’s
   passage through its territory as a diplomatic agent. (Op. of the Sup. Ct. of Just.
   of Cape Verde 33, ECF No. 153-1 (“What is reiterated is that there is no
   evidence in the record to date that the State of Cabo Verde has consented to
   the Appellant’s transit through its territory with the status of special envoy.”);
   see also Gov. Ex. 4. This Court is bound by that determination insofar as the
   act of state doctrine forecloses any inquiry into the matter. See Glen v. Club
   Mediterranee S.A., 365 F. Supp. 2d 1263, 1267 (S.D. Fla. 2005) (Moore, J.).
          So, aside from proving immaterial under the VCDR, Saab Moran’s title as
   a “special envoy” also proves inconsequential under customary international
   law. That title only “reflects the designation provided [to him]” by the Maduro
   regime. See Abdulaziz, 741 F.2d at 1331.
          In sum, Saab Moran has failed to prove, as a threshold matter, that
   customary international law recognizes transit immunities for diplomatic
   agents on temporary missions. And even then, the weight of the authorities
   before the Court strongly indicates that, if it exists, such immunity would
   require the consent of the transiting state(s), which Saab Moran has also not
   proven.
          Accordingly, his theories under customary international law fail.
         4. Conclusion

         For the above reasons, Saab Moran’s motion (ECF No. 147) is denied.

         Done and ordered in Miami, Florida, on December 23, 2022.

                                               _______________________ _ _
                                               Robert N. Scola, Jr.
                                               United States District Judge
